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Case 2'04-cv-02181-.]PI\/|-tmp Document 115 Fl|ed 07/08/05 Page 1 of 3 Page|D 15

 

 

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IN THE UNITED sTATEs DISTRICT CoURT _ ah D-C;"
'FOR THE WESTERN DISTRICT oF TENNESSEE 05 JUL -3 MH_ 0
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wa ab ;:'Y,;;€‘C.;Cwar
COMMODITY FUTURE TRADING ) "= drill H]S
COMMISION, )
)
Plaintiff, ) Case No. 04-2181 D AN
)
vs. )
)
FXTRADE FINANCIAL, LLC, et al., )
)
Defendants, )
)
JOSEPH J. CECALA, JR., )
)
Relief Defendant. )
ORDER OF REFERENCE

 

Before the Coul't is Plaintiff"s Motion to lmpose Discovel'y Sanctions Against Defendant
Mary lo Sibbitt filed on Ju|y 6, 2005, in this case.

This matter is hereby referred to the United States l\/lagistrate Judge for a Report and
Recommendation. Any exceptions to the Magistrate Judge’S order shall be made by motion Within
ten (l()) days of the order. Further, all exceptions shall be stated With particularity

IT IS so 0RDERED this 12 *'“ day of

 

 

U ITED STATES DISTRICT JUDGE

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This notice confirms a copy of the document docketed as number 115 in
case 2:04-CV-02181 Was distributed by faX, mail, or direct printing on
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EsSEE

 

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Honorable Bernice Donald
US DISTRICT COURT

